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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14 B 22554
         Courtney Kelly Jefferson

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 06/17/2014.

         2) The plan was confirmed on 09/15/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
12/17/2015, 12/17/2015.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 10/02/2015, 02/24/2016.

         5) The case was Dismissed on 03/03/2016.

         6) Number of months from filing to last payment: 17.

         7) Number of months case was pending: 24.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                    $4,911.00
           Less amount refunded to debtor                                $546.00

 NET RECEIPTS:                                                                                            $4,365.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                        $4,000.00
     Court Costs                                                                      $0.00
     Trustee Expenses & Compensation                                                $174.60
     Other                                                                            $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                        $4,174.60

 Attorney fees paid and disclosed by debtor:                            $0.00


 Scheduled Creditors:
 Creditor                                              Claim         Claim            Claim       Principal      Int.
 Name                                        Class   Scheduled      Asserted         Allowed        Paid         Paid
 Allstate Insurance                      Unsecured         630.00           NA              NA            0.00       0.00
 American InfoSource LP                  Unsecured           0.00        247.96          247.96           0.00       0.00
 American InfoSource LP as agent for     Unsecured         559.00        559.35          559.35           0.00       0.00
 Cavalry Investments LLC                 Unsecured         334.00        334.04          334.04           0.00       0.00
 Cerastes                                Unsecured           0.00        270.62          270.62           0.00       0.00
 Chicago Tribune                         Unsecured          15.00           NA              NA            0.00       0.00
 City of Chicago Department of Revenue   Unsecured         530.00      1,293.20        1,293.20           0.00       0.00
 Comcast Chicago Seconds - 2000          Unsecured         354.00           NA              NA            0.00       0.00
 Credit Management LP                    Unsecured         247.00        247.96          247.96           0.00       0.00
 First BANK OF Delaware Tribute          Unsecured         738.00           NA              NA            0.00       0.00
 First Revenue Assurance                 Unsecured      1,198.00            NA              NA            0.00       0.00
 Gateway Financial Services              Unsecured     10,846.00     12,033.78        12,033.78           0.00       0.00
 HBLC Inc.                               Unsecured         839.00           NA              NA            0.00       0.00
 IDES                                    Unsecured         485.00           NA              NA            0.00       0.00
 Illinois Dept of Revenue 0414           Priority       4,433.00       3,360.25        3,360.25          66.79       0.00
 Illinois Dept of Revenue 0414           Unsecured           0.00        393.96          393.96           0.00       0.00
 Illinois State TOLL HWY Author          Unsecured      1,793.00            NA              NA            0.00       0.00
 Internal Revenue Service                Priority       5,999.00       6,219.33        6,219.33        123.61        0.00
 Internal Revenue Service                Unsecured            NA       3,670.07        3,670.07           0.00       0.00
 Loyola Medical Plan                     Unsecured         150.00           NA              NA            0.00       0.00
 Loyola Univ. Med. Center                Unsecured      1,741.00            NA              NA            0.00       0.00
 Loyola Univ. Physician Fdn.             Unsecured         250.00           NA              NA            0.00       0.00
 NCO Financial Systems, Inc              Unsecured         192.00           NA              NA            0.00       0.00
 Nicor Gas                               Unsecured           0.00        196.23          196.23           0.00       0.00
 Oxford Management Services              Unsecured      1,219.00            NA              NA            0.00       0.00
 RJM Acquisitions LLC                    Unsecured         212.00           NA              NA            0.00       0.00
 Salute VISA GOLD                        Unsecured         680.00           NA              NA            0.00       0.00
 Sprint Corp                             Unsecured           0.00        427.01          427.01           0.00       0.00
 Verizon Wireless                        Unsecured         283.00           NA              NA            0.00       0.00
 Village of Forest Park                  Unsecured      1,600.00            NA              NA            0.00       0.00
 Village of Maywood-Parking              Unsecured         750.00           NA              NA            0.00       0.00



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 Scheduled Creditors:
 Creditor                                         Claim           Claim        Claim         Principal       Int.
 Name                                  Class    Scheduled        Asserted     Allowed          Paid          Paid
 Village of River Forest            Unsecured          30.00             NA             NA           0.00        0.00


 Summary of Disbursements to Creditors:
                                                                  Claim           Principal                 Interest
                                                                Allowed               Paid                     Paid
 Secured Payments:
       Mortgage Ongoing                                            $0.00                 $0.00               $0.00
       Mortgage Arrearage                                          $0.00                 $0.00               $0.00
       Debt Secured by Vehicle                                     $0.00                 $0.00               $0.00
       All Other Secured                                           $0.00                 $0.00               $0.00
 TOTAL SECURED:                                                    $0.00                 $0.00               $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                                 $0.00             $0.00                   $0.00
        Domestic Support Ongoing                                   $0.00             $0.00                   $0.00
        All Other Priority                                     $9,579.58           $190.40                   $0.00
 TOTAL PRIORITY:                                               $9,579.58           $190.40                   $0.00

 GENERAL UNSECURED PAYMENTS:                               $19,674.18                    $0.00               $0.00


 Disbursements:

            Expenses of Administration                              $4,174.60
            Disbursements to Creditors                                $190.40

 TOTAL DISBURSEMENTS :                                                                               $4,365.00




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/30/2016                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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